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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,
                                                         CASE NO. 1:03cr203-12
v.
                                                         HON. ROBERT J. JONKER
BILLY DUANE TOLIVER,

              Defendant.
                                   /

                       MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #646). Based on a

review of defendant’s motion, the Sentence Modification Report, the Revised Sentence

Modification Report, the submissions by counsel on behalf of the defendant and the

government, Mr. Toliver’s letter to the Court, and the original criminal file, the Court has

determined that the motion should be denied because the new calculation does not result

in a lower guideline range. Accordingly,

       IT IS ORDERED that the Motion for Modification or Reduction of Sentence

(docket # 646) is DENIED.

       Under Administrative Order 08-052, the Clerk is directed to reassign this case

back to the Honorable Gordon J. Quist for all further proceedings.


                                        /s/Robert J. Jonker
                                           ROBERT J. JONKER
                                    UNITED STATES DISTRICT JUDGE
Dated: June 27, 2008
